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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

KELLY MCGOWAN, et al.,                       §
                                             §
        Plaintiffs,                          §
                                             §
v.                                           §          Civil Action No. 3:18-CV-141-N
                                             §
SOUTHERN METHODIST                           §
UNIVERSITY,                                  §
                                             §
        Defendant.                           §

                      MEMORANDUM OPINION AND ORDER

        This Order addresses Defendant Southern Methodist University’s (“SMU”) motion

to compel [44]. For the following reasons, the Court grants in part and denies in part

SMU’s motion.

                        I. ORIGINS OF THE DISCOVERY DISPUTE

        Plaintiffs filed suit against SMU alleging negligence and Title IX violations. More

specifically, Plaintiffs allege that their participation on SMU’s women’s rowing team led

to hip injuries, which affected and continue to affect their abilities to engage in certain

activities.   SMU served Plaintiffs with its first set of requests for production and

interrogatories, seeking, among other requests, information regarding Plaintiffs’ social

media activity, their employment information, and a damages calculations. Plaintiffs

objected to these requests. SMU filed its motion to compel and seeks the Court to order

Plaintiffs to provide the requested information.




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                       II. MOTION TO COMPEL LEGAL STANDARD

       Federal Rule of Civil Procedure 26 allows parties to “obtain discovery regarding

any nonprivileged matter that is relevant to any party’s claim or defense and proportional

to the needs of the case.” FED. R. CIV. P. 26(b)(1). A litigant may request the production

of documents falling “within the scope of Rule 26(b)” from another party if the documents

are in that party’s “possession, custody, or control.” FED. R. CIV. P. 34(a). To enforce

discovery rights, a “party seeking discovery may move for an order compelling an answer,

designation, production, or inspection.” FED. R. CIV. P. 37(a)(3)(B). The Fifth Circuit

requires the party seeking to prevent discovery to specify why the discovery is not relevant

or show that it fails the proportionality requirement. McLeod, Alexander, Powel & Apffel,

P.C. v. Quarles, 894 F.2d 1482, 1485 (5th Cir. 1990). A district court has wide discretion

to supervise discovery and must limit discovery if it would be unreasonably cumulative,

could be obtained more easily from a different source, or if the burden or expense of the

proposed discovery outweighs its potential benefit. See FED. R. CIV. P. 26(b)(2)(C).

       When evaluating the relevance of a request, courts construe relevance broadly, as a

document need not, by itself, prove or disprove a claim or defense or have strong probative

force to be relevant. Samsung Elecs. Am., Inc. v. Yang Kun Chung, 321 F.R.D. 250, 280

(N.D. Tex. 2017). Relevant information need not be admissible at trial if the discovery

appears reasonably calculated to lead to the discovery of admissible evidence. FED. R. CIV.

P. 26(b)(1). The Court should “balance the need for discovery by the requesting party and

the relevance of the discovery to the case against the harm, prejudice, or burden to the other

party.” S.E.C. v. Brady, 238 F.R.D. 429, 437 (N.D. Tex. 2006).

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       III. THE COURT GRANTS IN PART AND DENIES IN PART SMU’S MOTION

       First, the Court grants SMU limited access to Plaintiffs’ social media accounts.

Second, the Court requires Plaintiffs to provide limited employment information, and

finally, the Court orders Plaintiffs to provide a damages calculation regarding medical

damages.

A. The Court Grants in Part SMU’s Request for Plaintiffs’ Social Media Information

       Social media information is usually considered discoverable and “is neither

privileged nor protected by any right of privacy.” Gondola v. USMD PPM, LLC, 223 F.

Supp. 3d 575, 591 (N.D. Tex. 2016) (internal quotations and citations omitted). But courts

generally do not endorse an extremely broad request for all social media site content. Id.

For instance, “[c]ourts have held that ordering a party to permit access to or produce

complete copies of his social networking site accounts would permit his opponent to cast

too wide a net and sanction an inquiry into scores of quasi-personal information that would

be irrelevant and non-discoverable.” Id.

       SMU submitted three requests for production, asking Plaintiffs to provide all

Facebook, Instagram, and Twitter account information from the date of their enrollment at

SMU to the present. Def. Southern Methodist University’s Mot. Compel Pls.’ Disc. Resps.

Br. Supp. (“SMU’s Mot.”) 7 [44]. Plaintiffs objected that the requests were overly broad,

unduly burdensome, irrelevant, disproportionate, and an invasion of Plaintiffs’ privacy.

See App. Supp. Def. Southern Methodist University’s Mot. Compel Pls.’ Disc. Resps.

(“SMU’s App.”), Ex. F 28 [45]. But Plaintiffs later provided social media information

showing Plaintiffs’ engagement in physical activities. Pls.’ Resp. Opp’n Def. Southern

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Methodist University’s Mot. Compel Pl.’s Disc. Resps. Br. Supp. (“Pls.’ Resp.”) 7–8 [47].

Yet, SMU contends that it is entitled to all social media information because Plaintiffs’

allegations go beyond just the impairment of their abilities to perform physical activities.

SMU’s Mot. 8.

       The Court determines that Plaintiffs’ social media information is discoverable, but

SMU is not entitled to unlimited access to Plaintiffs’ social media accounts because the

Court is persuaded that unfettered access is too broad. Thus, to the extent that the Plaintiffs

have yet to do so, the Court requires Plaintiffs to produce posts reflecting Plaintiffs’

physical activities and emotional state, but the Court does not grant SMU unlimited access

to Plaintiffs’ social media.

      B. The Court Grants in Part SMU’s Request for Employment Information

       SMU requested that each Plaintiff return a “[s]igned authorization attached to this

Request for Production, allowing SMU to obtain your employment records.” Pls.’ Resp.

8. Plaintiffs objected to the request as overly broad, not relevant, and not proportional to

the case. Id. at 9. Plaintiffs contend that they do not seek lost wages and that this

information was an unnecessary intrusion into Plaintiffs’ professional lives. Id. However,

SMU argues that Plaintiffs’ employment information is relevant to Plaintiffs’ claims that

SMU’s conduct affected their abilities to perform daily activities. SMU’s Mot. 17.

       The Court grants SMU’s request in part. The Court determines that employment

history is relevant, but the Court limits the scope of discoverable information. The Court

orders that Plaintiffs provide SMU with each Plaintiffs’ employment history, including

information such as the date of employment, the employer’s contact information, and a job

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description. But the Court does not grant SMU a blanket release. If necessary, SMU can

seek additional information from each employer.

       C. The Court Grants in Part SMU’s Request for a Damages Calculation

       Finally, the Court grants in part SMU’s request for a damages calculation. Under

Federal Rule of Civil Procedure 26, the plaintiff should provide “a computation of each

category of damages claimed by the disclosing party.” FED. R. CIV. P. 26(a)(1)(A)(iii).

SMU requested Plaintiffs provide “[a]n itemization and explanation of each category of

damages Plaintiffs seek in this case, along with any documents related to or supporting

such damages.” SMU’s Mot. 3. Plaintiffs objected to SMU’s request as overly broad,

unduly burdensome, seeking information that is not relevant, not proportionate to the case,

not limited to the proper time, scope, or subject matter, lacking particularity, premature,

and protected by privilege. See SMU’s App., Ex. F 26–27. Later, Plaintiffs informed SMU

that they needed additional discovery, including an expert report, in order to provide a

proper damages calculation, and they intend to provide a computation of future care

expenses in a supplemental disclosure. Pls.’ Resp. 10–11; SMU’s Mot. 5.

       The Court determines that SMU is entitled to a limited damages calculation and

grants SMU’s request with respect to past medical damages only. The Court orders

Plaintiffs to provide a damages calculation regarding past medical damages, and the Court

requires Plaintiffs to provide full supplementation as of Plaintiffs’ expert designation date.

                                       CONCLUSION

       The Court grants SMU’s motion in part. The Court orders Plaintiffs to provide

limited access to their social media accounts and limited employment history.

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Additionally, the Court requires Plaintiffs to provide a damages calculation regarding

medical damages. The Court orders Plaintiffs to provide the stated discovery within thirty

(30) days of this Order.



       Signed May 6, 2020.




                                                       ___________________________
                                                              David C. Godbey
                                                         United States District Judge




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